                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


BRANDON BRADLEY, SR.,

                       Plaintiff,

               v.                                             Case No. 20-C-561

MARK JENSEN, et al.,

                       Defendants.


                ORDER DENYING PLAINTIFF’S MOTIONS TO COMPEL


       This matter comes before the court on Plaintiff’s motions to compel discovery. Civil Local

Rule 37 requires that all motions to compel include “a written certification by the movant that,

after the movant in good faith has conferred or attempted to confer with the person or party failing

to make disclosure or discovery in an effort to obtain it without court action, the parties are unable

to reach an accord.” In other words, before filing a motion to compel, a party needs to first discuss

its dispute with the opposing party’s lawyer before asking the court to get involved. And, if they

cannot work out the dispute and a party files a motion to compel, the party must include proof in

his motion that he first tried to work it out with the opposing party’s lawyer.

       Plaintiff’s motions are deficient because they do not indicate that Plaintiff attempted to

contact Defendants’ lawyer to resolve any discovery dispute before seeking relief from the court

in accordance with Local Rule 37. Therefore, the court will deny his motions as premature. Parties

are often able to resolve their disputes without the court’s help. Informal resolution without the

court’s involvement saves both the court and the parties time and resources. Ordinarily, a plaintiff

contacts defense counsel, preferably by letter, to get a better understanding of why the defendants




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did not timely respond to his discovery requests. It may be that Defendants require a short

extension of time or that there is some confusion over the information Plaintiff seeks in his

discovery requests. A brief discussion may easily resolve whatever issues exist and save the parties

the time and effort of briefing a motion. In light of Plaintiff’s incarceration, the court encourages

the assistant attorney general to reach out to Plaintiff in an effort to resolve the matter.

        IT IS THEREFORE ORDERED that Plaintiff’s motions to compel discovery (Dkt. Nos.

35 & 36) are DENIED.

        Dated at Green Bay, Wisconsin this 19th day of October, 2020.

                                                        s/ William C. Griesbach
                                                        William C. Griesbach
                                                        United States District Judge




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